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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

 v.                                         Crim. Action No. 21-24-1 (EGS)

 ROBERT GIESWEIN,

                     Defendant.



      MR. GIESWEIN’S REPLY IN FURTHER SUPPORT OF MOTION TO
            DISMISS OBSTRUCTION CHARGE IN COUNT ONE
       Mr. Gieswein, through undersigned counsel, acknowledges that several of this

Court’s colleagues have recently denied motions to dismiss charges of obstruction

under 18 U.S.C. § 1512(c)(2). See Memorandum Opinion, ECF No. 63, United States

v. Sandlin, et al., 21-CR-88 (DLF) (hereafter “Sandlin mem. op.”); Memorandum

Opinion, ECF No. 558, United States v. Caldwell et al., 21-CR-28 (APM) (hereafter

“Caldwell mem. op.”); Memorandum Opinion, ECF No. 263, United States v. Nordean

et al., 21-CR-175 (TJK) (hereafter “Nordean mem. op.”); Memorandum Opinion, ECF

No. 87, United States v. Montgomery, et al., 21-CR-046 (RDM) (hereafter

“Montgomery mem. op.”); Memorandum Op., ECF No. 88, United States v. Mostofsky,

21-CR-138 (JEB) (hereinafter “Mostofsky mem. op.”).

       Mr. Gieswein nevertheless maintains his objections to application of the

statute to this case (and to any case, because it is vague on its face), and adopts the

objections the defendants in those cases made (which are described in some detail in

the foregoing opinions). In particular, he adopts the arguments made by the defense

in the Montgomery case, as well as the supplement filed in that case to address the
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Sandlin memorandum opinion. See ECF Nos. 66, 77, 83, 84, and 85 in United States

v. Montgomery, et al., 21-CR-046 (RDM) (attached hereto as exhibits). 1 He also notes

the following in support of his motion.

I.    The various definitions for “corruptly” emerging in this district
      demonstrate how vague the term remains.
      This Court’s colleagues do not disagree that, in the abstract, “corruptly” is

somewhat vague, and acknowledge that many of words often used to define it are of

little help. See, e.g., Sandlin mem. op. at 23 (“But defining ‘corruptly’ to involve

‘wrongfulness’ presents a closer question because it may be subject to the same

infirmities that Poindexter found in the words ‘immoral’ and ‘improper’.”) (citing

Poindexter, 951 F.2d 369, 379 (D.C. Cir. 1991); Caldwell mem. op. at 19 (noting that

Poindexter provided that “’the word ‘corruptly’ is vague” and that, “in absence of some

narrowing gloss, people must ‘guess at its meaning and differ as to its application’”);

Mostofsy mem. op. at 21 (adopting reasoning of both Sandlin and Caldwell).

      So far, though, the courts have found that that “judicial gloss” provides further,

and sufficient, definition to the word “corruptly.” But they do not agree on what that

gloss provides. That is, all appear to agree that “corruptly” requires proof of intent to

obstruct an official proceeding, and that there must be some “nexus,” a relationship

in time, causation, or logic,” between the defendant’s actions and the official




      1 Note that both parties submitted filings from other cases in Montgomery¸ so
some of these originated in other cases.


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proceeding in question. But they do not all agree on the rest of the definition of

“corruptly,” or arrive at their conclusion exactly the same way.

      Judge Friedrich appears to conclude that judicial gloss provides notice that

proof that a defendant acted “corruptly” also must include proof that he acted

“wrongfully.” Sandlin mem. op. at 23. The court finds that “in considering the

meaning of “corruptly” (or wrongfully), courts have drawn a clear distinction between

lawful and unlawful conduct,” drawing “a line that is consistent with the definition

of ‘wrongful’: that is contrary to law, statute, or established rule.” Id. at 24 (internal

citations omitted). This meaning, and judicial opinions, according to this court,

“identify a core set of conduct against which § 1512(c)(2) may be constitutionally

applied – ‘independently criminal’ conduct . . . that is ‘inherently malign’,” in addition

to being intended to obstruct a proceeding with which it has a nexus. Id. at 24. Thus,

Judge Friedrich concludes that the statute is not vague as applied against the

defendants accused of illegal conduct intended to obstruct an official proceeding, at

least so long as it is inherently malign. Id. It appears that Judge Friedrich allows

that more may fall within the definition of “corrupt,” but the court has declined to

determine its outer limits. Id. at 25.

      In the Nordean case, Judge Kelly appears to follow the logic of Sandlin,

concluding that corruptly means at least “intentionally” and “wrongfully” and that

the defendants in that case are alleged to have so-acted because they allegedly used

“unlawful means.” Nordean mem. op. at 22. However, Judge Kelly seems to be more

open to the notion that unlawful purposes, as opposed to unlawful means (such as



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breaking the law) can satisfy the “wrongfulness” prong perceived as a limitation on

the meaning of “corrupt” in section 1512(c)(2). Nordean mem. op. at 24-25.

      Judge Boasberg also closely follows Judge Friedrich’s rationale, in Mostofsky.

However, that court interprets Sandlin to stand for the proposition that “corruptly”

requires “that defendants acted ‘unlawfully, and with the intent to obstruct, impede,

or influence an official proceeding.” Mostofsky mem. op. at 23 (emphasis added).

      Judge Mehta takes yet another view of what the “judicial gloss” provides. In

Caldwell, Judge Mehta concludes that case law provides notice that “corrupt” action

involves “conscious wrongdoing” undertaken with specific intent to obstruct a

congressional proceeding. Caldwell mem. op. at 23-25. But apparently not all

conscious wrongdoing suffices, per this opinion: whereas preplanning to obstruct,

wearing paramilitary gear, forcible trespass and assault, and coordinated movement

through the Capitol would apparently qualify, “mere . . . trespass” apparently would

not. Id. at 27. Thus, Judge Mehta perceives an extra limitation on what it means to

act corruptly (i.e., it includes consciously violating crimes at least more serious than

trespass), just as Judge Friedrich’s did (i.e., it includes conduct that is both unlawful

and “inherently malign”).

       In Montgomery, Judge Moss appears to follow Judge Mehta’s reasoning,

finding that case law preceding and following Poindexter provides notice that, to

prove a defendant acted corruptly, the government must establish intent to obstruct

an official proceeding, and “consciousness of wrongdoing.” Montgomery mem. op. at

45. However, Judge Moss allows that there could be further requirements, including


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proof that the defendant used “some unlawful method” and acted “with the hope or

expectation of a benefit to oneself or a benefit to another person.” Id. at 48 n.5

(internal citations omitted)).

      For its part, the government also states that proof that one acted “corruptly”

for purposes of the statute requires “consciousness of wrongdoing,” including, but not

necessarily limited to, wrongdoing that was independently unlawful. ECF No. 74 at

26, 27.

      These various spins on just what it means to act “corruptly” under Section

1512(c)(2) demonstrate that the defendants in all of these cases are right that the law

was not so clear about what “corruptly” means, and that neither the text nor the

judicial gloss on it provided them with sufficient notice that it could be applied against

their conduct.

II.   If the judicial gloss does give notice of what “corrupt” means in this
      context, it provides that “corruptly” entails an element of dishonesty
      not alleged in the Indictment against Mr. Gieswein.
      Both the government and the Court’s colleagues put a great deal of emphasis

on Arthur Andersen LLP. Among the problems with this is that the Supreme Court

was not analyzing Section 1512(c) in that case. Another is that the Court did not say

in that case that to “corruptly” necessarily connotes consciousness of wrongdoing, as

Judge Mehta’s decision suggested in Caldwell. To the contrary, the Supreme Court’s

definition of “corrupt or corruptly” standing alone – unmodified by “knowingly” –

employed just the sort of other vague terms disapproved of in Poindexter. Arthur




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Andersen, 544 U.S. at 705 (stating that the words are “normally associated with

wrongful, immoral, depraved, or evil”).

      Instead, in Arthur Andersen, the Court considered what it means, under

Section 1512(b)(2)(A) and (B) to “’knowingly . . . . corruptly persuad[e]’ another person

“with intent to cause” that person to ‘withhold’ documents from, or ‘alter’ documents

for use in, an ‘official proceeding.’” Arthur Andersen, 544 U.S. at 703 (emphasis

added). And its decision that this meant to act with consciousness of wrongdoing had

everything to do with that former word – knowingly – which does not appear in the

statute at issue in this case. It was the “joining” of the usual meanings of “corruptly”

and “knowingly” – to mean “conscious wrongdoing” – that defined the mens rea for

the Supreme Court in Arthur Andersen, and which led the Court to conclude, albeit

in passing, that the statute was sufficiently limited. Id. at 706 (“And limiting

criminality to persuaders conscious of their wrongdoing sensibly allows Section

1512(b) to reach only those with the level of “culpability . . . we usually require in

order to impose criminal liability.” (citations omitted)). The Court never suggested in

that case that “corruptly” in itself implies knowingly unlawful conduct, and never

suggested that “corruptly” – unmodified by “knowingly” or some other word – is not

unconstitutionally vague.

      Third, both the government and the courts employing Arthur Andersen to

support the conclusion that citizens are on notice of what Section 1512(c) prohibits –

and to conclude that the statute is not vague as applied to Mr. Gieswein and others

charged in the wake of January 6 – pick and choose their preferred portions of that



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decision. Specifically, they disregard the fact that, in that case, the Supreme Court

appeared to endorse an interpretation of “corruptly” that includes an element of

dishonesty. The Court noted disapprovingly that the lower court in that case (which

concerned Section 1512(b)) had omitted the word “dishonesty” from the jury

instructions defining “corruptly.” See Arthur Andersen, 544 U.S. at 707. So, if this

case did anything to help cabin the definition of “corruptly,” this was it.

      Indeed, following Arthur Andersen, more than one Court of Appeal has read

the term “corruptly” for purposes of Section 1512(c)(2) to require not only intent to

interfere with the due administration of justice (as the defense has previously argued)

but also a showing of both “improper purpose” and “dishonesty.” See United States v.

Gordon, 710 F.3d 1124, 1151 (10th Cir. 2013) (“Acting ‘corruptly’ within the meaning

of [Section] 1512(c)(2) means acting ‘with an improper purpose and to engage in

conduct knowingly and dishonestly with the specific intent to subvert, impede or

obstruct the [proceeding].”) (emphasis added); United States v. Friske, 640 F.3d 1288,

1291 (11th Cir. 2011) (emphasis added) (same).

      This Court’s colleagues do not appear to have adopted this requirement

apparent from the “judicial gloss” on “corruptly” since Poindexter. But if Andersen

and this progeny provide sufficient gloss to narrow Section 1512(c)(2), then Count

One is vague as applied to the conduct alleged in Count One against Mr. Gieswein,

as it does not allege (and the government has never claimed) that Mr. Gieswein’s

actions were dishonest in any way, providing further grounds for the Court to dismiss.




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III.   This Indictment does not allege conduct meeting any of the standards
       set forth in the decisions on the application of Section 1512 to the
       events of January 6 to date.
       Count One charges that Mr. Gieswein violated the statute “by entering and

remaining in the United States Capitol without authority, committing an act of civil

disorder, and engaging in disorderly and disruptive conduct.” ECF No. 3 at 1. Count

One does not allege that Mr. Gieswein’s civil disorder and disorderly and disruptive

conduct violated the law, and even if it did, it does not allege that Mr. Gieswein knew

this, and thus acted with “consciousness of wrongdoing,” or that it was otherwise

“wrongful.” It certainly does not allege that his conduct was “inherently malign.” And

although the count charges an illegal trespass insofar as it alleges an entering and

remaining without authority, that is a “mere trespass,” and the Indictment does not

allege that any such trespass was done with “consciousness of wrongdoing, “ or that

it was “inherently malign.” Accordingly, neither the Court’s colleagues’ opinions, nor

the government’s arguments, foreclose Mr. Gieswein’s arguments that the statute is

vague as applied to the allegations in Count One.

IV.    The electoral vote count does not qualify as an official proceeding
       even if this Court’s colleagues are correct regarding the scope of that
       definition.
       The Court’s colleagues have all ruled that the vote count on January 6, 2021

was a “proceeding before Congress” and therefore qualified as an “official proceeding”

under 18 U.S.C. § 1512(c)(2). But none of the decisions consider whether the electoral

vote was a “proceeding” at all under any definition.

       To date, no court has analyzed the ceremonial and predetermined nature of

the electoral count, and how that predetermination is antithetical to the vote count


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being considered a “proceeding” or “hearing.” The Sandlin court ruled that a

“proceeding” need not be “court-like” and did not require the “administration of

justice.” Sandlin mem. op. at 7-9. 2 The Caldwell and Montgomery courts ruled that

an “official proceeding” means “the business conducted before an official body.”

Caldwell mem. op. at 8-10; Montgomery mem. op. at 13, 19. And the Nordean court

had the broadest interpretation ruling that an “official proceeding” is a “series of

actions” that requires “some formal convocation.” Nordean mem. op. at 11. The

Mostofsky court adopts the reasoning of both Sandlin and Caldwell. Mostofsky mem.

op. at 21-22.

       In reaching those determinations, these courts left a crucial part of the

definition of “proceeding” out of its analyses. See Caldwell mem. op. at9; Nordean

mem. op. at11; Montgomery mem. op. at 11. Black’s Law Dictionary defines

“proceeding” to be “the business conducted by a court or other official body; a hearing.”

(11th ed. 2019) (emphasis added). The word “hearing,” which was left out of the three

courts definitions, provides crucial context to the definition of “proceeding” by

requiring something more than a “formal convocation” or “business conducted before

an official body.”

       Also not considered by these courts is whether the Joint Session is not a

“proceeding” at all under any definition because the statute governing the Joint




       2The Sandlin court did, however, rule that an official proceeding must be akin to
a hearing. Id.


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Session, 3 U.S.C. § 15, repeatedly makes clear that the Joint Session is simply a

“meeting” of both Congressional bodies:

             The Senate and House of Representatives shall meet in
             the Hall of the House of Representatives . . . When the two
             Houses have voted, they shall immediately again meet . . .
3 U.S.C. § 15. (emphases added). Thus, the language of the statute governing the

Joint Session plainly describe it as a “meet[ing].”

      In addition, the House and the Senate do not “proceed” together; the houses

always “act” separately. Proceedings take place either in the House or in the Senate,

separately. The two houses convene together only for specific ceremonies and

speaking events (i.e., for the State of the Union, see U.S. Const., Article II, Section 3,

and to hear speeches from visiting dignitaries). In fact, the only time the Constitution

mentions the word “proceeding” in reference to Congress, the bicameral nature of

the Congress is stressed. 3 It follows that a “proceeding before Congress” in Section

1512 must refer to a separate and bicameral adjudicative, investigative, or legislative

function of the House or the Senate. The Electoral Certification served none of those

functions.

      The Sandlin court held that a “proceeding” must be akin to a formal hearing.

Sandlin mem. op. at7, 9. A “hearing” is defined as a “judicial session, open to the

public, held for the purpose of deciding issues of fact or of law.” Black’s Law

Dictionary (11th ed. 2019). The Court reasoned that the vote count is a formal hearing



      3 “Each House may determine the Rules of its Proceedings….[e]ach House shall
keep a Journal of its Proceedings…” Article I Section V. (emphases added).


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because of the formal procedures it must follow pursuant to 3 U.S.C. § 15 that allow

for objections and decisions. However, the court did not address the “ceremonial and

ministerial” nature of the meeting, or consider the procedures that govern the

meeting in the context of the meeting’s ceremonial nature. Sandlin mem. op. at7-9.

The ceremonial nature of the vote count, however, is crucial to determining whether

or not the electoral count is akin to a formal hearing and, in turn, whether it

constitutes “a proceeding.”

      The vote count is entirely ministerial – it certifies vote counts that have been

determined. It does not meaningfully decide any issues of fact or law because those

have already been decided by the states and the courts, see, e.g., Bush v. Gore, 531

U.S. 98 (2000), and the Joint Session does not have the power under the Constitution

to actually reject the votes of any State. See Vasan Kesavan, “Is the Electoral Count

Act Unconstitutional?” 80 North Carolina Law Review 1653, 2002 (hereafter,

“Kesavan”).

      The history of “objections” lodged at the Electoral Count further demonstrate

the ceremonial nature of the Electoral Count. The past objections were mostly made

in the 1800’s because of the confusion of when new states were admitted to the union

and how that impacted whether their votes should count. Objections were ultimately

rejected because it was determined that the Joint Session did not have the authority

to judge the proceedings already had in the states. See Kesavan at 1678-1694. In

1876, the most tumultuous election, Samuel Tilden and Rutherford Hayes were

separated by one electoral vote and four states sent Congress multiple electoral



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returns. Id. Instead of the Joint Session resolving this issue (because Congress

recognized that the Joint Session did not have the authority to do so), Congress

formed a separate commission to sort through the chaos and decide the issues of fact

and law presented. Id. Subsequently, to address issues like this in the future,

Congress enacted the Electoral Count Act of 1887, placing on the states the

responsibility to resolve disputes about electors and their appointments and

certifications. Stephen A. Siegel, The Conscientious Congressman’s Guide to the

Electoral Count Act of 1887, 56 Fla. L. Rev. 540, 543 (July 2004).

      In 1969, there was an objection that a vote sent up to Congress from North

Carolina should not be counted because it reflected the “faithless” elector who had

refused to give his vote to Richard Nixon, despite Nixon winning the popular vote in

that state. The objection was rejected, and the vote at issue counted, because of the

strong reminder of representatives such as R. Rarick who said:

             We are not election supervisors nor given the discretion to
             re-compute the vote received from a sovereign state. The
             Constitution clearly proscribes our duty as to ‘count the
             electoral votes,’ the ministerial function of a central
             collecting agency and a tabulating point.
See Kesavan at 1694, 2022 (emphases added).

      For all these reasons, the Electoral Count is not “a proceeding” akin to a formal

hearing. Rather, it is a ceremonial meeting of both houses of Congress. While steeped

in tradition, it decides nothing. It is a political performance conducted in order to give

the country a feeling of finality over the already final election results. As a result, the




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Electoral Count does not qualify as an “official proceeding” and count One of the

Indictment should be dismissed. 4

                                    CONCLUSION
      For all of these reasons, those previously given, and such others as may be

advanced at a hearing on this matter, Mr. Gieswein respectfully requests that the

Court dismiss Count One.

      Respectfully submitted on January 11, 2022.

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      4 Undersigned counsel notes that this argument is borrowed from counsel for
the defendant in United States v. Andries, 21-cr-093-RC, Assistant Federal Public
Defender Maria N. Jacob.


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